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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

SVITLANA DOE, et al.,

                               Plaintiffs,

      – versus –                                         Civil Action No.: 1:25-cv-10495-IT
KRISTI NOEM, in her official capacity as Secretary
of Homeland Security, et al.,

                               Defendants.

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   PRELIMINARY INJUNCTION AND STAY OF ADMINISTRATIVE ACTON

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         2              Declaration of Plaintiff Ana Doe (CHNV beneficiary)

         3           Declaration of Plaintiff Armando Doe (CHNV beneficiary)

         4             Declaration of Plaintiff Carlos Doe (CHNV beneficiary)

         5             Declaration of Plaintiff Maksym Doe (U4U beneficiary)

         6              Declaration of Plaintiff Maria Doe (U4U beneficiary)

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         8             Declaration of Plaintiff Svitlana Doe (U4U beneficiary)

         9            Declaration of Plaintiff Sandra McAnany (CHNV sponsor)

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        11          Declaration of Plaintiff Wilhen Pierre Victor (CHNV sponsor)

        12         Declaration of Plaintiff Valentin Rosales (Cuba FRP beneficiary)

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17         Declaration of Plaintiff Aleksandra Doe (U4U beneficiary)

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       David J. Bier, Cato Institute, 126 Parole Orders over 7 Decades: A
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